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Debtor 1 Coretta Shepard

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the : Southern District of Illinois
(State)

Case number 18-30847-lkg

Official Form 41031
Notice of Mortgage Payment Change 12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: Freedom Mortgage Corporation Court claim no. (if known): 6

Last four digits of any number you XROOKK2373 Date of payment change:

use to identify the debtor’s account: Must be at least 21 days after date of 12/1/2023
this notice

New total payment:
Principal, interest, and escrow, if any $847.07

tn Escrow Account Payment Adjustment

1. Will there be a change in the debtor’s escrow account payment?

O No
Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
for the change. If a statement is not attached, explain why:

Current escrow payment: $ 446.80 New escrow payment: $457.02

Cone Mortgage Payment Adjustment

2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s
variable-rate account?

No

Ol Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. Ifa notice is not attached,
explain why:
Current interest rate: % New interest rate: %
Current principal and interest payment: $ New principal and interest payment: $

a Other Payment Change

3. Will there be a change in the debtor’s mortgage payment for a reason not listed above?

No
O Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
(Court approval may be required before the payment change can take effect.)

Reason for change:

Current mortgage payment: $ New mortgage payment: $

Official Form 41081 Notice of Mortgage Payment Change page 1
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Debtor 1 Coretta Shepard Case number (if known) 18-30847-lkg
FirstName MiddleName Last Name

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.

Check the appropriate box.

Ol am the creditor.

| am the creditor’s authorized agent

| declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.

X _/S/A. Michelle Hart Ippoliti Date 11/07/2023
Signature
Print: A. Michelle Hart Ippoliti Title Authorized Agent for Creditor
First Name Middle Name Last Name

Company McCalla Raymer Leibert Pierce, LLC

Address 1544 Old Alabama Road
Number Street

Roswell GA 30076
City State ZIP Code
Contact phone 678-281-6537 Email — Michelle.Hartlppoliti@mccalla.com

Official Form 41081 Notice of Mortgage Payment Change page 2
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Bankruptcy Case No.: 18-30847-lkg
In Re: Chapter: 13
Coretta Shepard Judge: Laura K. Grandy

CERTIFICATE OF SERVICE

I, A. Michelle Hart Ippoliti, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama
Road, Roswell, GA 30076, certify:

That I am, and at all times hereinafter mentioned, was more than 18 years of age;

That on the date below, I caused to be served a copy of the within NOTICE OF
MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Coretta Shepard
1321 Floradora Drive
Belleville, IL 62220

Pearson CJ Bush (Served via ECF at bush_law@ameritech.net)
523 Missouri Ave

PO Box 2737

East St Louis, IL 62202

Russell C. Simon, Trustee (Served via ECF Notification)
Chapter 13 Trustee

24 Bronze Pointe
Swansea, IL 62226

United States Trustee (Served via ECF Notification)
Becker Bldg, Room 1100

401 Main St

Peoria, IL 61602

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Executed on: — 11/08/2023 By: _/s/A. Michelle Hart Ippoliti
(date) A. Michelle Hart Ippoliti
Authorized Agent for Creditor

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Escrow Account Disclosure Statement
FREEDOM MORTGAGE® INDIANAPOLIS, IN 46260-0401 Account Information

Loan Number:

Property Address: 1321 FLORADORA DR

CORETTA SHEPARD Statement Date: 10/20/2023

1321 FLORADORA DR Current Payment Amount: $836.85
BELLEVILLE IL 62220-3329

New Payment Amount: $847.07

New Payment Effective Date: 12/01/2023

You are receiving this statement because you have an escrow account with us. We have safeguards in place to ensure there is
enough money in your account to cover your homeowner's insurance, real estate taxes and mortgage insurance, if applicable.
However, changes in your taxes and insurance could result in a shortage or surplus in your escrow account.

Based on our most recent escrow analysis. you have a surplus of $734.22. A surplus check in the amount of $734.22 to be printed and
mailed in a separate document.

Projected Minimum Balance $1,558.20
- Required Minimum Balance $823.98
Surplus $734.22

The required minimum balance (also known as the escrow cushion) is the amount that you are required to pay into your escrow account
to cover unanticipated disbursements for escrow items or for disbursements that have to be made before the monthly escrow payments
are available in your escrow account.

Part 1 provides your current and the new escrow payment amounts. Part 2 shows what has already happened in your account
while Part 3 shows what we anticipate happening in your account over the next 12 months. As tax and insurance amounts may
be subject to change each year, the amounts in Part 3 are only estimates.

PART

Payment information beginning with your 12/01/2023 payment

Payment Information Current Monthly Payment New Monthly Payment
Principal & Interest: $390.05 $390.05
Escrow Payment: $446.80 $457.02

Total Payment: $836.85 $847.07

Surplus check will be sent under separate cover.

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The chart below compares what we projected to occur with actual activity in your escrow account since the

last analysis.
Previous Year's Projections (Estimated) Actual Activity

Date Paid In Paid Out Description Balance Date PaidIn Paid Out Description Balance
Beginning Balance $1,250.85 Beginning Balance ($216.63)

Jun 2023 $893.60 $45.03 MORTGAGE INSURA $2,099.42 fj Jun 2023 $159.94 $45.03 * ($101.72)
Jun 2023 $0.00 $0.00 $2,099.42 fj Jun 2023 $0.00 $1,713.98 COUNTY TAX ($1,815.70)
Jul 2023 $446.80 $45.03 MORTGAGE INSURA $2,501.19 9) Jul 2023 $0.00 $45.03 FHA MORTGAGE INSURANCE ($1,860.73)
Aug 2023 $446.80 $45.03 MORTGAGE INSURA $2,902.96 fj Aug 2023 $0.00 $45.03 * FHA MORTGAGE INSURANCE ($1,905.76)
Aug 2023 $0.00 $1,652.62 TAX $1,250.34 [J Aug 2023 $0.00 $1,713.98 COUNTY TAX ($3,619.74)
Sep 2023 $446.80 $45.03 MORTGAGE INSURA $1,652.11 j Sep 2023 $3,865.52 $45.03 $200.75
Oct 2023 $446.80 $45.03 MORTGAGE INSURA $2,053.88 J Oct 2023 $1,747.74 $45.03 $1,903.46
Nov 2023 $446.80 $45.03 MORTGAGE INSURA $2,455.65 |] Nov 2023 $0.00 $0.00 EB $1,903.46
Dec 2023 $446.80 $45.03 MORTGAGE INSURA $2,857.42 9] Dec 2023 $0.00 $0.00 EB $1,903.46
dan 2024 $446.80 $45.03 MORTGAGE INSURA $3,259.19 J Jan 2024 $0.00 $0.00 E $1,903.46
Feb 2024 $446.80 $45.03 MORTGAGE INSURA $3,660.96 [J] Feb 2024 $0.00 $0.00 EB $1,903.46
Mar 2024 $446.80 $45.03 MORTGAGE INSURA $4,062.73 9] Mar 2024. $0.00 $0.00 E $1,903.46
Mar 2024 $0.00 $1,516.00 INSURANGE $2,546.73 || Mar 2024 $0.00 $0.00 E $1,903.46
Apr 2024 $446.80 $45.03 MORTGAGE INSURA $2,948.50 I Apr 2024 $0.00 $0.00 E $1,903.46
May 2024 $448.80 $45.03 MORTGAGE INSURA $3,350.27 | May 2024 $0.00 $0.00 E $1,903.46
May 2024 $0.00 $1,652.62 TAX $1,697.65 J May 2024 $0.00 $0.00 E $1,903.46

Total $5,808.40 $5,361.60 Total $5,773.20 $3,653.11

An asterisk (*) indicates a difference in that month between the actual activity and the estimated activity.

When applicable, the letter “E” beside an amount indicates that a payment or disbursement has not yet occurred but is estimated
to occur as shown.

A double asterisk (**) indicates a difference in that month between the actual activity and the estimated activity due to interest
payable on escrow which is not estimated.

LOAN NUMBER

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FREEDOM MORTGAGE® INDIANAPOLIS, IN 46250-0401

CORETTA SHEPARD
1321 FLORADORA DR
BELLEVILLE IL 62220-3329

PART

S)

HOMEOWNERS
FHA MORTGAGE INSURANCE
COUNTY TAX

sScrow AC

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We ieurd Statement
Account Information

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Loan Number:
Property Address:

Statement Date:
Current Payment Amount:

New Payment Amount:
New Payment Effective Date:

1321 FLORADORA DR
BELLEVILLE IL 62220

10/20/2023
$836.85

$847.07
12/01/2023

$1,516.00 Freedom expects to pay $5,484.32 over the next 12 months.

$540.36

$3,427.96 Here's how to calculate your new monthly escrow payment:

Total Disbursements

$5,484.32
+ 12 Months:

Total Disbursements:

$5,484.32

12

New Monthly Escrow Payment

$457.02

Summary of Your Projected Escrow Account for the Coming Year

What We
Payment i. Your Actual Balance Needed
Date to Eecrow Expect to Desenption Balance In Your Account
Pay Out
Beginning Balance $2,382.26 $1,648.04
Dec 2023 $457.02 $45.03 FHA MORTGAGE INSURANCE $2,794.25 $2,060.03
Jan 2024 $457.02 $45.03 FHA MORTGAGE INSURANCE $3,206.24 $2,472.02
Feb 2024 $457.02 $45.03 FHA MORTGAGE INSURANCE $3,618.23 $2,884.01
Mar 2024 $457.02 $1,516.00 HOMEOWNERS $2,559.25 $1,825.03
Mar 2024 $0.00 $45.03 FHA MORTGAGE INSURANCE $2,514.22 $1,780.00
Apr 2024 $457.02 $45.03 FHA MORTGAGE INSURANCE $2,926.21 $2,191.99
May 2024 $457.02 $45.03 FHA MORTGAGE INSURANCE $3,338.20 $2,603.98
Jun 2024 $457.02 $45.03 FHA MORTGAGE INSURANCE $3,750.19 $3,015.97
Jun 2024 $0.00 $1,713.98 COUNTY TAX $2,036.21 $1,301.99
Jul 2024 $457.02 $45.03 FHA MORTGAGE INSURANCE $2,448.20 $1,713.98
Aug 2024 $457.02 $45.03 FHA MORTGAGE INSURANCE $2,860.19 $2,125.97
Sep 2024 $457.02 $45.03 FHA MORTGAGE INSURANCE $3,272.18 $2,537.96
Sep 2024 $0.00 $1,713.98 COUNTY TAX $1,558.20 $823.98 *
Oct 2024 $457.02 $45.03 FHA MORTGAGE INSURANCE $1,970.19 $1,235.97
Nov 2024 $457.02 $45.03 FHA MORTGAGE INSURANCE $2,382.18 $1,647.96
$5,484.24 $5,484.32

The required minimum balance, as indicated by the asterisk (*) in the summary above, is determined by the Real Estate
Settlement Procedures Act (RESPA), your mortgage contract or state law. Your minimum balance may include up to two
months of escrow payments (excluding PMI/MIP) to cover increases to your taxes and homeowners insurance.

Your escrow balance is more than the amount needed in your account. The resulting surplus is $734.22. Federal
Law requires that any surplus of $50.00 or greater must be returned to you within 30 days from the date of

analysis.

Did you know by having recurring payments set up through FreedomMortgage.com, we'll adjust for any changes

in your monthly payment automatically? However, if you have automatic bill pay through your bank, you'll need to
contact them directly to adjust your payment. To sign up for recurring payments, login to your Freedom Mortgage
account or register today at MyAccount. FreedomMortgage.com.

Should you have any questions regarding the information provided in this statement please do not hesitate to

contact us at (855) 690-5900. Customer Care representatives are available to assist you Monday through Friday

8:00am — 8:00pm and Saturday 9:00am — 2:00pm Eastern Time.

LOAN NUM Ri

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: Escrow Account Disclosure Statement
FREEDOM MORTGAGE® INDIANAPOLIS, IN 46250-0401 Account Information

Loan Number:
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BELLEVILLE IL 62220

CORETTA SHEPARD Statement Date: 10/20/2023

1321 FLORADORA DR Current Payment Amount: $836.85
BELLEVILLE IL 62220-3329

New Payment Amount: $847.07

New Payment Effective Date: 12/01/2023

FREEDOM MORTGAGE CORPORATION IS A DEBT COLLECTOR ATTEMPTING TO COLLECT A DEBT AND ANY
INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

IMPORTANT NOTICE: TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED IN BANKRUPTCY, IS SUBJECT TO
THE AUTOMATIC STAY OR IS PROVIDED FOR IN A CONFIRMED PLAN, THIS COMMUNICATION IS FOR REGULATORY
COMPLIANCE AND/OR INFORMATIONAL PURPOSES ONLY, AND DOES NOT CONSTITUTE A DEMAND FOR PAYMENT
OR AN ATTEMPT TO IMPOSE PERSONAL LIABILITY FOR SUCH OBLIGATION.

LOAN NUMBER

INTERNET REPRINT
